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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                              July 23, 2024


      No. 23-20516      Great Lakes Dredge v. Magnus
                        USDC No. 4:22-CV-2481



The above referenced case has been scheduled for oral argument
on 09/03/2024. It will be held in New Orleans -   East Courtroom
at 1:00. The Oral Argument session number is 08.
Arguing counsel is responsible for electronically filing the
Oral Argument Acknowledgment Form by no later than 08/12/2024.
To submit your form, log in to CM/ECF and select the event ‘Oral
Argument Acknowledgment Form Filed.’ Please include your session
number when completing the Oral Argument Acknowledgment Form.
IMPORTANT: Please confer with all counsel on your side regarding
the order and division of time before submitting the form. This
step is critical to ensure you are providing the court with
accurate information. The court will not allow any changes
except in emergency situations.
The Oral Argument Acknowledgment Form is available on our
website at https://www.ca5.uscourts.gov/oral-argument-
information/attending-oral-arguments. Also available on this
page are links to the ‘Court and Special Hearings Calendar’ and
‘Court Policy on Electronic Devices’.
If you have not electronically filed a "Form for Appearance of
Counsel," you must do so before filing the Oral Argument
Acknowledgment Form. You must name each party you represent,
See Fed. R. App. P. and 5th Cir. R. 12. The form is available
at https://www.ca5.uscourts.gov/appearanceform. Attorneys
appointed under the Criminal Justice Act are exempt from the
requirement to file a Form for Appearance of Counsel.
To ensure that we can provide all pertinent materials to the
court before argument, we must receive any additional filings in
this office by noon on the workday immediately preceding the day
your case is scheduled for argument. Exceptions will be made for
emergencies only.
Notice to Court Appointed Counsel: Please review for information
on CJA travel at https://www.ca5.uscourts.gov/oral-argument-
information/attorney-information/cja-travel-information.
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All questions regarding the scheduling and argument of this case
should be directed to the assigned courtroom deputy, Pam Trice
at 504-310-7633.
                              Sincerely,
                              LYLE W. CAYCE, Clerk
                              By: ________________
                              Pamela F. Trice, Calendar Clerk
                              504-310-7633



    Mr. Jonathan Brightbill
    Mr. Tre Holloway
    Mr. John Longstreth
    Ms. Caroline D. Lopez
    Ms. Constantine G. Papavizas
    Ms. Beth Bivans Petronio
    Mr. Mark Ruge
    Mr. Charles Wylie Scarborough
    Mr. Michael Woodrum
